 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                     ILLINOIS, EASTERN DIVISION

ROMAN HAACK, CODY CLAY and RYAN )
BANTA, and all other employees similarly )
situated,                                )
                                                 )
                      Plaintiffs,                )
                                                 )
               v.                                )
                                                 )
PERSONNEL STAFFING GROUP, LLC ,                  )
DANIEL S. BARNETT, individually, DAVID           )       Case No. 1:17-cv-02854
BARNETT, individually, NORTHERN                  )
ILLINOIS FENCE dba COMPLETE                      )       (JURY TRIAL DEMANDED)
NORTHERN ILLINOIS FENCE or “CNI”, US             )
INSTALLERS, dba NORTHERN ILLINOIS                )
FENCE, and RAYMOND HOHE, individually,           )
                                                 )
                      Defendants.                )
                                                 )


            NOTICE OF PENDING LAWSUIT TO RECOVER OWED WAGES

TO:    Present and former employees of PERSONNEL STAFFING GROUP, LLC , DANIEL S.
       BARNETT, individually, DAVID BARNETT, individually, NORTHERN ILLINOIS
       FENCE dba COMPLETE NORTHERN ILLINOIS FENCE or “CNI”, COMPLETE
       ILLINOIS FENCE, INC., US INSTALLERS, dba NORTHERN ILLINOIS FENCE, and
       RAYMOND HOHE, individually

RE:    Fair Labor Standards Act (FLSA) lawsuit against Defendants

                                        INTRODUCTION

The purpose of this notice is 1) to inform you of the existence of a lawsuit; 2) to advise you of
how your rights may be affected by this lawsuit; and 3) to instruct you on the procedure for
joining this lawsuit, should you choose to do so.

                               DESCRIPTION OF THE LAWSUIT

The lawsuit is brought against PERSONNEL STAFFING GROUP, LLC , DANIEL S.
BARNETT, individually, DAVID BARNETT, individually, NORTHERN ILLINOIS FENCE
dba COMPLETE NORTHERN ILLINOIS FENCE or “CNI,” US INSTALLERS, dba
NORTHERN ILLINOIS FENCE, and RAYMOND HOHE, individually. The Plaintiffs allege
that they and other present and former employees of the Defendants were not paid proper
wages and proper overtime wages. Defendants deny the Plaintiffs’ claims.

The Court has conditionally allowed the above-described lawsuit to proceed as a

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class/collective action on behalf of the following collective action or class of employees or
former employees of PERSONNEL STAFFING GROUP, LLC , DANIEL S. BARNETT,
individually, DAVID BARNETT, individually, NORTHERN ILLINOIS FENCE dba
COMPLETE NORTHERN ILLINOIS FENCE or “CNI”, US INSTALLERS, dba
NORTHERN ILLINOIS FENCE, and RAYMOND HOHE, individually:



       All individuals who were employed by, or are currently employed, by one or
       more of the Defendants, their subsidiaries or affiliated companies, as a fence
       installer or laborer who worked on installing fences, either commercial or
       residential fences, at any time during the relevant statute of limitations period
       of April 4, 2007-the present.

                               NO RETALIATION PERMITTED

Federal law prohibits any retaliation against you for joining the lawsuit

                       WHAT ARE THE PLAINTIFFs ASKING FOR?

The Plaintiffs are asking for payment of overtime wages for all hours not paid by the hour and
worked over 40 hours in a week, and “Liquidated damages” (liquidated damages are the amount
equal to double the amount of unpaid wages).

Plaintiffs also want Defendants to change their policies because Plaintiffs allege that they do not
conform to the requirements of the law.

                                    TO JOIN THE LAWSUIT

If you are a current or former employee who installed or installs fences for any of the Defendants
and wish to join this lawsuit, you must sign, date, and mail (using the enclosed self-addressed
envelope) the attached Consent to Become a Party Plaintiff form to the Plaintiff’s attorney by
midnight on (insert 90 days after mailing date ) to :

                                        L. Steven Platt
                              ROBBINS SALOMON & PATT, LTD
                                  180 N. LaSalle, Suite 3300
                                      Chicago IL 60601
                                     lsplatt@rsplaw.com

If you choose to join this suit, you will be bound by the judgment. While this suit is proceeding
you may be required to provide information, appear for deposition and/or testify in court.

             NO OPINION EXPRESSED AS TO THE MERITS OF THE CASE

This Notice is for the sole purpose of determining the identity of those persons who wish to be
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involved in this lawsuit. Although the United States District Court for the Northern District
Illinois has authorized the sending of this notice, the court expresses no opinion regarding the
merits of Plaintiff’s claims or Defendants’ defenses.

                LEGAL REPRESENTATION IF YOU JOIN THE LAWSUIT

The name and address of Plaintiffs’ attorney:

                                        L. Steven Platt
                              ROBBINS SALOMON & PATT, LTD
                                  180 N. LaSalle, Suite 3300
                                      Chicago IL 60601
                                     lsplatt@rsplaw.com

If you choose to join this lawsuit, your interests will be represented by the named Plaintiffs
through their attorney as counsel for the collective.

 THIS NOTICE AND ITS CONTENTS HAVE BEEN AUTHORIZED BY THE UNITED
   STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS.
  PLEASE DO NOT CALL OR WRITE THE JUDGE ASSIGNED TO THIS MATTER.
  THE JUDGE CANNOT ANSWER QUESTIONS CONCERNING THIS LAWSUIT OR
    THIS NOTICE. IF YOU HAVE ANY QUESTIONS, PLEASE CONTACT THE
         LAWYER FOR PLAINTIFFS AT THE ADDRESS GIVEN ABOVE



                                              Respectfully Submitted,


                                              /s/ L. Steven Platt




Dated: June 28, 2017

L. Steven Platt
ROBBINS, SALOMON & PATT, LTD
180 N. LaSalle, Suite 3300
Chicago IL 60601
(312) 456-0285
lsplatt@rsplaw.com




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FENCE, and RAYMOND HOHE, individually,        )
                                              )
                     Defendants.              )
                                              )

           CONSENT TO SUE UNDER THE FAIR LABOR STANDARDS ACT
                   (This form must be completed in ink, not pencil.)

I have read the Notice of Lawsuit and hereby give my consent to be included in this lawsuit and
to be represented by counsel for the Plaintiff as set forth in the Notice.

MY NAME IS:
                                                              Please Print Name

YOUR SIGNATURE:
                                            Please Sign Name
TELEPHONE NUMBER: __________________________________________

ADDRESS: ______________________________________________________


CITY: __________________________________ STATE: _____ ZIP CODE:


DATE ON WHICH I SIGNED THIS NOTICE:
                                                              Today’s Date




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Attorney for Plaintiffs:

L. Steven Platt
ROBBINS SALOMON & PATT, LTD
180 N. LaSalle, Suite 3300
Chicago IL 60601
lsplatt@rsplaw.com




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